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                              IN THE UNITED STATES DISTRICT COURT FOR THE

                                           NORTHERN DISTRICT OF OKLAHOMA

   LINDSEY K. SPRIGER, )
                          Plaintiff, )
                              )
                                                                                    )


              v. ) Case No. 06-CV-156-GKF-FHM
                                                                                )
  DOUGLAS HORN, Individually; MELODY )
  NOBLE NELSON, Individually; BRIAN )
  SHERN, Individually; 10 UNKNOWN )
  AGENTS OF THE INTERNAL REVENUE )
  SERVICE, Individually; and OTHERS )
  UNKNOWN, Individually, )
                          Defendants. )                                         )

                                                                                )

                                            DECLARATION OF DOUGLAS HORN

             I, DOUGLAS HORN, declare that:

             1. I am presently employed as the First Assistat United States Attorney and Chief of the

 Criminal Division in the Eastern District of Oklahoma, where I oversee the operations of the

 Civil and Criminal Divisions of                     the United States Attorney's Office. I previously served as an

 Assistant United States Attorney in the Northern District of
                                                                                                 Oklahoma from 1998 to 2007, where

 I held the position of            Chief     of   the Criminal Division from 2001 to 2007. I am one of
                                                                                                                          the

 defendants in the above-captioned civil action.

            2. This Declaration is being executed in support of
                                                                                                the individual federal defendants'

motion for sumar judgment in the above-captioned civil action.

            3. Except where specifically noted to the contrar, I have personal knowledge of the facts

set fort in this Declaration, and, if called upon to testify to said facts, could do so competently.


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               4. I have read, and am familar with, the allegations of the Bivens Complaint in this case.

               5. I hold a Bachelor of               Science in Civil Engineerin~ from the University of
                                                                                                                         Virginia, a
  Master of        Business Administration in finance and accounting from the University of
                                                                                                                          Pittsburgh,
  and a Juris Doctor degree from the University of Tulsa School of Law.

               6. I served as an Assistant D1istrict Attorney in Tulsa County from May of 1989 to May

  of 1995, and as First Assistant District Attorney from Januar of 1995 to May of 1995. I also

  served as an Assistant United States Attorney in the Eastern District of Oklahoma from May of

  1995 to August of 1998.

              7. As Chief of          the Criminal Division of                the United States Attorney's Office for the

 Nortern District of Oklahoma, I assigned Assistat United States Attorney Melody Noble

 Nelson, to a case involving an investigation by the Internal Revenue Service into the activities of

 the plaintiff, Lindsey K. Springer, for potential violations of
                                                                                                 Title 26, United States Code.

                                 The search warrant for Lindsey Springer's residence

              8. As the supervisor of Assistant United States Attorney Melody Noble Nelson, I was

aware that she had applied for a search warant for the personal residence of the plaintiff, Lindsey

K. Springer, in connection with the IRS investigation into potential violations of Title 26, United

States Code. I did not take par in preparng the application for the search warant or the

supporting affidavit, or in presenting it to the Magistrate Judge for approval and issuace.

           9. On or about the date the search warant for Springer's personal residence was

executed, I became aware that the IRS Special Agents had located and seized some curency. At

a subsequent point in time, I was informed that there was a discrepancy between the amount of

curency that the Agents thought they had seized from Springer's residence and the amount of


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    curency counted by the ban.

                 10. I do not have any personal knowledge of any reasons for the alleged discrepancy

   between the amount of curency seized from Springer's residence and the amount of curency

   counted by the ban. I have never traveled to Springer's personal residence in Kellyvile,

   Oklahoma, and was not present for the execution ofthe search warant at Springer's residence on

   September 16,2005.


                                                            Springer's Rule 41 motion

                11. As the supervisor of Assistant United States Attorney Melody Noble Nelson, I was

  aware though my conversations with her that Springer had fied a written motion that sought the

  disclosure of the supporting declaration of IRS Agent Brian Shern and the retur of the curency

 and car titles tht were seized pursuant to the search warant.

               12. I do not have          a specific recollection of         reviewing the United States of America's
 Response to Movant's Motion for Copy of Sworn Testimony, Application for Search Warant

 and Retu of             Certn Seized Items (the "Response") that was wrtten by Assistant United States

Attorney Nelson and fied with the Cour in response to Springer's Rule 41 motion. .As Nelson's

supervisor, however, I was aware that a response to Springer's motion had been prepared and

fied.

               13. I have read and reviewed the Order entered on October 28,2005, in which U.S.

Magistrate Judge Fran H. McCary denied Springer's request
                                                                                         for copies of   the materials and/or

testimony considered in connection with the issuance of the search warant and the application

for the search warant. The Cour also denied without prejudice Springer's motion for the retu


of the seized curency and car titles.


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               14. After the denial of Springer's Rule 41 motion, Assistant United States Attorney


  Nelson and I made the decision to retu the curency and the Car titles to Springer. Although we

  believed that the curency and car titles had been properly seized by the IRS Special Agents

  pursuant to the warant, we were of the opinion that we no longer needed to retain the curency or

  the original car titles as par of   the investigation into Springer's activities.

              15. I did not steal any money from Lindsey K. Springer or enter into any agreement or

 conspiracy with Assistant United States Attorney Melody Noble Nelson or any IRS Special

 Agent to steal any money from the plaintiff in this case. I do not believe that any money was

 stolen from Lindsey Springer by any offcer, agent or employee of the Internal Revenue Service,

 including the IRS Special Agents who have been sued in their individual capacities in this civil

 action. Instead, I believe that the curency was miscounted by the IRS Special Agents at the time

 that it was seized pursuant to the search warant.

            16. I did not, individually or in conjunction with any other pary or individua, "cover up"

or attempt to "cover up" any alleged discrepancy between the amount of curency shown on the

"Inventory Listing of All Items Seized at Search Warant Site" ("Approximately $19,000.00 in

U.S. Curency") and the $17,000.00 amount shown on the Treasur Check tendered to the

plaintiff, Lindsey K. Springer, in Januar of 2006.




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                                                         CERTIFICATION

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of          perjur that the foregoing is tre


 and correct.

        Executed on November ;) b , 2007.




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                                  CERTIFICATE OF SERVICE

         IT IS HEREBY CERTIFIED that service of the foregoing DECLARATION was filed

 with the Clerk of Court electronically today, July 10, 2008, such that a service copy was sent by

 way of the electronic filing system to the plaintiff and all counsel who have arranged for

 electronic service of filings.


                                                      /s/ Robert D. Metcalfe
                                                      ROBERT D. METCALFE DC #423163
                                                      Trial Attorney, Tax Division
                                                      U.S. Department of Justice
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                                                      Ben Franklin Station
                                                      Washington, D.C. 20044
